Case: 4:06-cv-01025-DDN              Doc. #: 57       Filed: 11/19/07   Page: 1 of 1 PageID #: 222



                          IN THE UNITED S TATES DISTRICT COUR T
                              EAS TERN DIS TRICT OF MISSO URI
                                    EAS TERN DIV ISION

JEANNE B ERGFELD,                                 )
                                                  )
                        Plaintiff,                )
                                                  )       Cause No.: 4 :06CV1 025 DDN
v.                                                )
                                                  )
THE BOARD OF EL ECTION                            )
COMMISSIONERS, FOR THE CITY OF                    )
ST. LOUIS, et al.                                 )
                                                  )
                        Defendants.               )

                        RULE 41(a)(1) STIPULATION OF DISMISSAL


        COME NOW Plaintiff Jeanne Bergfeld and Defendants The Board of Election

Commissioners for the City of St. Louis, Edward R. Martin, Jr., Ange letta McCormic k Franks, and

Clarence E. Du la, by and through their respecti ve counsel, and pursuant to Rule 41(a)(1) of the

Federal Rules of Civil Procedure, hereby stipulate to the dismissal with prejudice of this action in its

entirety, w ith each party to bear his/her/its own costs and attor neys’ fees.

PLEBAN & ASSOCIA TES, L.L. C.               SPENCER FANE BRITT & BRO WNE LLP


By:    /s/ Michae l J. Scha ller                  By:    /s/ Francis X. Neuner, Jr .____
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